Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 1 of 50

 

EXH]BIT 1

 

Case 3:09-CV-01223-l\/|RK Document 1-2 Filed 07/29/09 Page 2 of 50

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NOTICE DF APFL|CATION FOR n STATE OF CQNNEGTlCUT
PREJUDGMENT REMEDYIC LA|M FOR SUPERIDR COURT l d
HEARING TO CONTEST APPL|CATION mvw,jud.ct.gov 155“9“ WU °Lt ,
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NAME cr-' case rFlrsi~r-ramed ordman vs. rum-named defendant l:j LESS THAN assoc
General Marittine Corporatlon v. Alrcraft Gueranty Tltie 6 Trust, [___l szscc THRoUGH success ,"]"| M|H ' ml ll lm H"l
LLC and ContlnentAircreft Trust No. 461 wingo 03 MDRE c L P J R A
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NAME AND ADDRESS DF Pl.AlNii_"Fr=rAr=PLloANT (Perscn maan application for Prejudgmem nemaoy) (lve. street lawn and zrp code-1
Generel Maritlme Corporation. 35 Wost Sttth Stl'eet, New 'i’ork, N¥ 10019
NAMr-:rs), ADDREse(es) AND TELEPHoNe No(e). or»‘ cEFENoANTrs> AGAleT wl-rorir PREJchMEN'r REMEDY re sworn {Ne.. street town and zip occur mason
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NAME n ripeness oF ANV nch PEneoN HoLolNe PROPERTY oF DEFENDANTWHO ls ‘ro se MADE h cARrusHee cy r=sccess renele
°'SS"’“"T'°" waterbury-oxford Arrpen, soo christian street oxrerd, c'r cease
mine Ar~ic counties or-' n'r'roRNEv. uaw FtRM on PLAlmrFi= lr= PRc se rrllo., arrest town end zip cooe)
;:¥E`[:$HFEMINWHS) Le\rett Rocitwood P.C., 33 l-'tivers|de Avenj.te, P.O. Box 5116,Westpog,)¢1' 06881
TELEPHoNE nro. .lurus Nc. rrrarry. errawrrrmr sic - -

Pm NDE°F:
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You have rights cpccined in the Gcnnecliout General Statutes, including Chapter BUSa, that you may wish to exercise concerning
this application for c prejudgment remedy. These rights include the right to a heartng:

(‘ij to object to the proposed prejudgment remedy because you have a defense to or set-off against the action or a counterclaim
against the pisintltt or because the amount sought in the application for the prejudgment remedy is unreasonably high or
because payment of any udgment that may be rendered against you ls covered by any insurance that may be available to you;

(2) to request that the plain post a bond |n accordance with section 52-27tid ofthe General Stetutes to secure you against
any damages that may result from the prejudgment remedy;

[3) to request that you be allowed to substitute a bond forthe prejudgment remedy sought; and

(4) to showthat the property sought to be subjected to the prejudgth remedy is exempt from such s prejudgment remedy.

 
  

 

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You may requests hearing to contest the application for a prejudgment remedy. assert any exemption or make a request concerning
the posting cr substitution of a bond in connection with the prejudgment remedy. The hearing may be requested by any proper motion
or by completing section ill beiow and returning title form to the superior court at the Court Address listed above.

¥ou have a right to appear end be heard at the hearing on the application to be held atthe above court location cn:
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l, the defendant named below, requests hearing to contest the application for prejudgment remedy, claim an exemption or
request the posting or substitution of a bond. l cialrn: ("X”the appropriate boxes) Hl
that the amounted ht in the a limtion for a defense counterclaiml |l" m M|"' mlm||m|"m"
m prejudgment remeng is unreasoetpably hlg . m set»ctf, or 'exernp ion. c L F' J ft H G
[':] that any judgment that may be rendered is [:j that l be allowed to substitute a FOR colg;'l_l;£ ova
adequately secured by insurance bond for the prejudgment remedy. + SUPEHIUH (BUR]‘
that the laintiff be re ulred to st a bond to secure me a alnst WIGW~ DISTHFCTOFA
m any dam%ges that meqy result fr§¢}>om the prejudgment remed`?r, NSOMA'M:LFDHD
l certify that a copy of the above claim was mal|edl'delivered to the Pleintid JUL 1 ll 2009
ortho Pleintiff's attorney on the Dste Nlalied/Dellvered shown below. VALER
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"lt necessary. attach additional sheet with names of each party served end the address et which service was ma -

   

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 3 of 50

ATTACHMENT TO JD-CV-53 Judicial District of
NOT|CE OF APPL|CAT|ON FOR Anson|a-Milford
PREJ!JDGMENT REMEDYICLA|M FOR at Milford
HEAR|NG TO CONTEST AFPL|CAT|ON

OR CLA|M EXEMPT|ON

Genera| Maritime Corporation v. Cont|nent Aircraft Trust No. 461
Retum Date:

NAMES, ADDRESSES AND TELEPHONE NUMBERS OF DEFENDANTS AGA{NST WHON|
PREJUDGMENT REMEDY |S SOUGHT:

Continent Aircraft Trust No, 461, 515 No:th Sam Houston Parkway East, Su`rte 305,
Hou‘ston, TX 77060.

Alrcraft Guaranty Tit|e & Trust, LLC, 515 North Sam Houston Parkway East, Su|te 305,
Houston, TX 77060.

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 4 of 50

RETURN DATE= = summon coUR'I'
§ JUDICIAL DIsTRIcT

GENERAL MARITIME coRPORATION = oF ANSONIA-MILFORD
= AT MILFORD

v. l

AIRCRAF'I' GUARANTY TITLE & 'I‘R.UST, :
LLC, in its capacity as TRUSTEE
of CONTINENT AIRCRAFT 'I‘RUST

NO. 461, and CONTINENT AIRCRAFT
'I‘RUST NO. 461 : , 2009

ORDER GRANTING PLAINTIFF’S APPLICATION FOR
TEMPDRARY RESTRAINING ORDER

The Plaintiff'e Application for Ex Parte Temporary Reetraining
Order, having been presented to the Court, together with the
Complaint, and the Affidavits of James M. Calabrese and John
Georgiopouloe, and Memorandum of Law, is hereby GRANTED/DENIED.

NOW, THEREFORE, it appears that irreparable loss or damage will
result to the Plaintiff before the matter can be heard on notice and
good cause having been shown that a temporary injunction ought to
issue without a bond, and it is ORDERED that pending the hearing and
determination of the Plaintiff's Application for Prejudgment Remedy,
the Defendante, Continent Aircraft Trust No. 461 and Aircraft Guaranty
title & Truet, LLC, and anyone acting on their behalf, are hereby
enjoined from a} removing that certain Daesault Falcon 2000EX, serial

number 15, FAA registration mark NB?GM (formerly N215EX), including

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 5 of 50

its two (2) Pratt & Whitney PW BDBC engines, serial numbers PCE~CF0042
and PCE~CFOOZE, together with all parts, additions, accessoriee, and
components installed thereon, and including all radios, avionics and
additional equipment appurtenant thereto, and all available log books,
manuals, maintenance records end technical records (collectively the
"Aircraft") from its current location at 9 Juliano Drive, Hangar G, at
the Waterbury-Oxford Airport in 0xford, Connecticut 06403;_b) selling,
transferring, assigning, encumbering, deregietering, or exporting the
nircraft; c) cancelling the registration on the FAA registry of the
nircraft; or d) selling, transferring, assigning or encumbering the
$1,000,000 security deposit paid by the Plaintiff to the Defendants at

the time the Plaintiff leased the Aircraft.

7 5 v e\;w.'~l"o ' .~74-= :~\;$;-.-.,'. = -‘ ,
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Dated at Milford, Connecticut this [*! day of AF¢¢£Z f

  
 
      

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THE COURT

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 6 of 50

RETURN DATE= ' = supreme cover
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GENERAL MARITIME coRPORATIoN = ns ANsoNIa-MILFGRD
= AT MILFORD

V»

AIRCR.AFT GUARAN‘I'Y TI'I'LE & TRUST,.

LLC, in its capacity as TRUSTEE

Of CON’I‘INENT AIR.CRAFT TRUST :

NO, 461, and CONTINENT AIRCRAF'I‘

TRUS'I' NO. 461 : JULY , 2009

ORDER FOR HEARING AND NOTICE

The within Application for Prejudgment Remedy, Application for Ex
Parte Temporary Restraining Order and Motion to Disclose Property,
having been presented to the Court, it is hereby ORDERED that a hearing
be held thereon at the Superior Court for the Judicial District of
Ansonia-Milford at Milford, 14 west River Street, Milford, Connecticut
06460 at §) 3§:_) a.m. in Courtroom?Z| on §§ //2"' , 2009, and
that the Plaintiff give notice to the Defendants in accordance with
Section 52~278c of the Connectiout General Statutes of the pendency of
the Applications and the Motion, and of the time and place they will be
heard, by causing a true and attested copy of the epplications,
proposed ordersf unsigned proposed Writ, Summons and Complaint, Writ of
Attachment, Memorandum of Law, Affidavits, Motion, and this Order,

together with such notice as is required under Section 52~278c(e) of

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 7 of 50

the Connecticut General Statutes, to be served upon the Defendants by

some proper officer on or before ¢§"! § , 2009, and that due

return of such service be made to this Court.

Dated at Milford, Connecticut this day of July, 2009.
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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 8 of 50

DOCKET NO. AAN-CV~OB-BOOBGEO-S ' SUPERIOR COURT

JUDICIAL DISTRICT
OF ANSONIA»MILFORD
AT MILFORD

GENERAL MARITIME CORPORATION

V.

AIRCRAFT GUARANTY TITLE & TRUST,
LLC, in its capacity as TRUSTEE
cf CONTINENT AIRCRAFT TRUST

NO. 461, and CONTINENT AIRCRAFT
TRUST NO. 461 : JULY 16, 2009

SUMMONS

TO ANY STATE MARSHAL OF THE COUNTY OF HARTFORD, OR EITHER
CONSTABLE OF THE CITY OF HARTFORD IN SAID COUNTY,

GREETING:

By authority of the State of Connecticut, you are hereby
commanded to make due and legal service of a true and attested copy of
the foregoing hpplications, Order Granting Application for Temporary
Restraining Order, Order For Hearing and Notice, proposed Grder,
unsigned proposed Writ, Summons and Complaint, proposed Writ of
Attachment, Memorandum of Law, Affidavits, Motion and Order upon
Aircraft Guaranty Title & Trust, LLC, 515 North Sam Houston Parkway
East, Suite 305, Houston, Teras 77060, and Continent Aircraft Trust
No. 461, 515 North Sam Houston Parkway East, Buite 305, Houston, Texas
77060, on or before August 13, 2009.

HEREOF FAIL NOT, but due service and return make.

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 9 of 50

Dated at Westport, Connecticut this 16th day of July, 2009.

Andrew B. Nevas
Commissioner of the Superior Court

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 10 of 50

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= JUDICIAL DISTRIcT

GENERAL MARITIME coRPoP.ATIoN = 01=' ANsoNIA»MILr-‘oso
= AT MILFORD

V'.

AIRCRAFT GUAR.AN'I'Y ’I'ITLE & 'I‘RUST, :

LLC, in its capacity as TRUSTEE ;

of CONTINENT AIRCRAFT TRUST :

NO. 451, and CONTINENT AIRCRAFT

'I'RUST NO. 461 : J'ULY 13, 2009

PL`AINTIFF‘S A.PPLICATION FOR`
EX .PARTE TE!-IPORARY RESTRAINING ORDER

Pursuant to Connecticut General Statutes §§ 52-278a, et seg., and
52*471, et seg., the Plaintiff, General Maritime Corporation, hereby
moves for the entry of an ex parte temporary restraining order against
the Defendants, and represents as follows:

1. That the Plaintiff is about to commence an action against
the Defendants Continent Aircraft trust No. 461 and Aircraft Guaranty
Title & Trust, LLC, seeking money damages for breach of contract,
unjust enrichment and violation of the Connecticut Unfair Trade
Practices Act, pursuant to the accompanying unsigned Writ, Summons,
Complaint and Affidavits.

2. That the Plaintiff has filed concurrently herewith an

Application for Prejudgment Remedy on the grounds that there is

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 11 of 50

probable cause that a judgment in the amount of $1,000,000.00 or
greater, taking into account any known defenses, counterclaims or set-
offs, will be rendered in the matter in favor of the Plaintiff against
the Defendants, and that to secure such judgment the Plaintiff seeks
an Order from this Court directing that a prejudgment remedy be
granted to secure the sum of $1,000,000 by attaching sufficient
property of the Defendants, specifically a) that certain Dassault
Falcon 2000EX, serial number 15, FhA registration mark N97GM (formerly
NZlSEX), including its two (2) Pratt a Whitney PW 3080 engines, serial
numbers PCE-CF0042 and PCE-CFOOzB, together with all parts, additions,
accessories, and components installed thereon, and including all
radios, avionics and additional equipment appurtenant thereto, and all
available log books, manuals, maintenance records and technical
records {collectively the "Aircraft"}, some or all of which are
currently located at 9 Juliano Drive, Hangar G, the Waterbury~Oxford
Airport, 0xford, Connecticut 06403; and b) the $1,000,000 Security
Deposit paid by the Plaintiff to the Defendants at the time the
Plaintiff leased the Aircra£t from the Defendants.

3. That there is probable cause and it is likely that the

Plaintiff will succeed on the merits of its claims against the

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 12 of 50

Defendants, that imminent and irreparable harm absent immediate ex
parte injunctive relief will be suffered by the Plaintiff and that the
equities favor the Plaintiff.

4. That there is an imminent threat that the Aircraft will be
removed from this State of Connecticut by the Defendants, absent
immediate injunctive reliefr such that any potential judgment in this
action in favor of the Plaintiff will go unsatisfied.

5. That there is good cause for issuance of an ex parte
temporary restraining order without bond, since the Plaintiff is
simply asking that the Defendants maintain the status quo of the
Aircraft, the funds to be secured by the hircraft are undisputedly due
to the Plaintiff, and no other persons will be affected.

6. In support of this Application, the Plaintiff submits its
Complaint, the accompanying Affidavits of James A. Calabrese and John
Georgiopoulos, and Memorandum of Law in Support of Plaintiff's
Applications for Prejudgment Remedy and Ex Parte Temporary Restraining

order.

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 13 of 50

WHEREFORE, the Plaintiff requests an ex parte temporary
restraining order pending the hearing and determination of its
Application for Prejudgment Remedy, prohibiting the De£endants from
a) removing the hircraft from waterburywoxford Airport; b) selling,
transferring, assigning, encumbering, deregistering or exporting the
sircraft; c) cancelling the registration on the FAA registry of the
Aircraft; or d} selling, transferring, assigning or encumbering the

security deposit.

PLAINTIFF,

BY W@Mjé?<//

Andrew B. Nevas

LEVETT ROCKWOOD P.C.

33 Riyerside Avenue

P.O. Box 5116

Westport, CT 06881
Telephone: (203) 222-0885
Facsimile: (203} 226-8025
Juris No. 101078

173164(v.3)

 

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 14 of 50

RETURN DATE: : SUPERIOR COURT
: JUDICIAL DISTRICT
GENERAL MARITIME CORPORATION : OF ANSONIA-MILFORD
: AT MILFORD
‘v*- l

AIRCRAFT GUARANTY TITLE & TRUST,
LLC, in its capacity as TRUSTEE
Of CONTINENT AIRCRAFT TRUST .
NO. 461, and CONTINENT AIRCRAFT :

TRUST NO. 461 : JULY 13, 2009

PLAINTIFF'B RPPLICATION FOR PREJUDGMENT REMEDY

TO THE SUPERIOR COURT‘FOR THE JUDICIAL DISTRICT OF ANSONIA~MILFORD AT
MILFORD: ‘

The undersigned represents:

l. That Levett Rockwood P.C. is about to commence an action
against Continent Aircraft Trust No. 461, 515 North Sam Houston
Parkway East, Buite 305, Houston, Texas 77060 and Aircraft Guaranty
Title & Trust, LLC, 515 North Sam Houston Parkway East, Suite 305,
Houston, Texas 77050 pursuant to the attached proposed unsigned Writ,
Summons, Complaint and Affidavits;

2. That there is probable cause that a judgment in the amount
of the prejudgment remedy sought, or in an amount greater than the
amount of the prejudgment remedy sought, taking into account any known

defenses, counterclaims or setoffs, will be rendered in the matter in

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 15 of 50

favor of the Plaintiff and that to secure the judgment, the Plaintiff
seeks an order from this Court directing that the following
prejudgment remedy be granted to secure the sum of One Million and
00/100 Dollars ($1,000,000.00}:

a. To attach that certain Dassault Falcon 2000EX, serial
number 15, FAA registration mark N97GM (formerly N215EX), including
its two (2) Pratt & Whitney PW BOBC engines, serial numbers PCE-CF0042
and PCE-CFOOZS, together with all parts. additions, accessories, and
components installed thereon, and including all radios, avionics and
additional equipment appurtenant thereto, and all available log books,
manuals, maintenance records and technical records (colleotively the
"Aircraft"), some or all of which are currently located at 9 Juliano
Drive, Hangar G, at the Waterbury~Oxford Airport in Oxford,
Connecticut 06403;

b. To attach the $1,000,000 security deposit paid by the
Plaintiff to the Defendants at the time the Plaintiff leased the
Aircraft from the Defendants and currently held by the Defendants; and

c. Such other relief as the Court may find appropriate.

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 16 of 50

3. In support of its Application, the Plaintiff submits its

Complaint, along with Affidavits and a Memorandum of Law.

ByPLZYIW/Z M'

Andrew B. Nevas

LEVET'I' ROCKWOOD P. C .

33 Riverside Avenue

P.O. BOX BllE

Westport, CT 06881
Telephone: {203) 222-0885
Facsimile: (203) 226-8025
Juris NO. 101078

 

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 17 of 50

RETURN DATE: : SUPERIOR COURT
: JUDICIAL DISTRICT
GENERAL MARITIME CORPORATION : OF ANSONIA~MILFORD
: AT MILFORD
V.

AIRCRAFT GUARANTY TITLE & TRUST,

LLC, in its capacity as TRUSTEE

Of CONTINENT AIRCRAFT TRUST

NO. 461, and CONTINENT AIRCRAFT

TRUST NO. 461 : , 2009

ORDER GRANTING PLAINTIFF'S APPLICATION
FOR PREJUDGMENT REMEDY

WHEREAS, the Plaintiff in the above~entitled action has made
application for a prejudgment remedy to attach the goods or estate of
the Defendants, and

wHEREAS, after due hearing at which 1) the Plaintiff and
Defendants appeared and were fully heard; or 2) the Plaintiff
appeared and was fully heard, but the Defendants made default of
appearance, it is found that a copy of the Order for Hearing and
Notice was duly served on the Defendants as appears from the
officer's'return on file; it is found that there is probable cause to

sustain the validity of the Plaintiff's claim that a judgment in the

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 18 of 50

amount of the prejudgment remedy sought, or in an amount greater than
the amount of the prejudgment remedy sought, taking into account any
known defenses, counterclaims or setoffs, will be rendered in this
action in favor of the Plaintiff.

NOW, THEREFORE, the foregoing hpplication for Prejudgment
Remedy, having been heard, it is hereby ORDERED: GRANTED/DENIED.

lt is further ORDERED that the Plaintiff may attach to the value
of $1,000,000.00 the following goods or estate of the Defendants:
that certain Dassault Falcon EUUOEX, serial number 15, FAA
registration mark NBTGM (formerly NzlSEX), including its two (2)
Pratt & Whitney PW BOBC engines, serial numbers PCE~CFDO42 and PCE-
CFDOBB, together with all parts, additionsf accessories, and
components installed thereon, and including all radios, avionics and
additional equipment appurtenant thereto, and all available log
booksr manuals, maintenance records and technical records
(collectively the "Aircraft"), some or all of which are currently
located at 9 Julianc Drive, Hangar G, the Waterbury-Oxford hirport,

Oxford, Connecticut 06403.

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 19 of 50

It is further ORDERED that the Defendants, and anyone acting on
their behalf, are prohibited from a) removing the Aircraft from the
said Airport; b) selling, transferring, assigning, encumbering,
deregistering or exporting the Aircraft; or c) cancelling the FAA
registry of the Aircraft.

It is further ORDERED that the Defendants immediately turn over
all keys to the Aircraft to a Connecticut State Marshal.

It is further ORDERED that the Defendants, and anyone acting on
their behalf, are hereby prohibited from selling, transferring,
assigning or encumbering the $1,000,000 Security Deposit paid by the
Plaintiff to the Defendants at the time the Plaintiff leased the
Aircraft.

Dated at Milford, Connecticut this day of ,

 

2 00 9 .
THE COURT
BY
Judge/Assistant Clerk
173239 [v. 3]

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 20 of 50

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§ JUDICIAL DIsTRIcT
GENERAL mmqu ccRPoaATION = cr ANSoNIA~MILFoRn
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AIRCRAFT GUARANTY TITLE & TRUST,
LLC, in its capacity as TRUSTEE :

Of CONTINENT AIRCRAFT TRUS‘I' :

NO. 461, and CONTINENT AIRCRAE‘T

TRUST NO. 461 : JULY , 2009

AFFIDAVIT OF JAM.ES M. BERGIN IN SUPPORT OF
PLAINTIFF‘S APPLICATIONS FOR PREJUDGMENT REMEDY
AN'I.) EX PA.RTE PRELIMINARY INJ'UNCTION

STATE OF NEW YORK )
) sss Manhattan

COUNTY OF NEW YORK )

Personally appeared James M. Bergin, who being first duly sworn
deposes and says:

1. I am over the age of 18 and believe in the obligations of an
oath.

2. The information contained herein is based upon my own
personal knowledge and belief.

. 3. This Affidavit is submitted in support of the Plaintiff's

Applications for Prejudgment Remedy and Ex Parte Preliminary

Injunction dated July KB , 2009.

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 21 of 50

4. I am an attorney admitted to practice law in New York and am
a partner with the law firm of Morrison a Foerster LLP in New York
City, New York.

5. On behalf of Plaintiff, I caused a request to be submitted
to the Federal Aviation Administration ("FAA") for information
regarding Continent Aircraft Trust No. 461 ("Continent Aircraft
Trust"). In response, I received a copy of that certain Declaration
of Trust {the "Declaration") between Aircraft Guaranty Title & Trust,
LLC {"Aircraft Title & Trust“), as Trustee, and Aircraft Guaranty
Financial Corporation ("Aircraft Financial"), as Grantor. A true and
correct copy of the Declaration in the form obtained from the FAA is
attached hereto as Exhibit A. _

5. As stated in Exhibit A, on or about January 7, 2004,
Aircraft Financial as Grantor and the Defendant Aircraft Title & Trust
as Trustee entered into the Declaration, which created the Defendant
Continent Aircraft Trust. Pursuant to Article 2.1 of the Declaration,
Aircraft Financial appointed Aircraft Title & Trust as Trustee of
Continent Aircraft Trust.

7. Pursuant to the Declaration, Aircraft Financial and Aircraft

Title & Trust as Trustee agreed that certain aircraft (as defined in

....2.....

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 22 of 50

the Declaration) would be designated as "Trust Property." Pursuant to
Article 11.2 of the Declaration, Aircraft Title & Trust, as Trustee,
was to have legal title to all such Trust Property, including the
aircraft so designated. Pursuant to the Declaration, Aircraft
Financial was designated as the beneficiary of the Trust, and was to
hold a beneficial interest in the Trust Property.

8. According to the records obtained in response to the above»
described request to the FAA, Aircraft Title & Trust, acting in its
capacity as Trustee, is the registered owner of that certain Dassault
Falcon 2000 EX, serial number 15, designated with_FAA registration
mark NB?GM (the “Aircraft”. A true and correct copy of the FAA record

so indicating is attached hereto as Exhibit B.

<E§Fes M. Bergin

Subscribed and sworn to before me on this the day of July,

2009. M/L',\-.
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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 23 of 50

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 24 of 50

Exhibit A

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 25 of 50

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. DECLARATION O'B‘ TRUST
Batwean

Aire:'aft Guaramy Tit!e & Tnut, LLC
\ _ as TRUSTEE

and

mart Guaranty Finneial Corporatioa
' al GRANTOR

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wn¥\oui 1he express prior written consent quircran Guaran!y Howmgs, LLC. -

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 26 of 50

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TABLE OF CON'I'ENTS

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2.2 TrustAgmemem. . ...... ............... .......,.....2

. 2.3 Rzpresoniaiions and Wan’anties ofthc Gramor and Subsoquenl 'I'mnsfw'or..'. ........ 2

2.4 Aetivit!cs... ..,,,... .... .....,,. ... ...... ... .... ...... .... .........,......3

2_5 often .............. .. ... ..,.3

2.6 Sih¥$ of’"x"\'nst ..... `. ............. . ....... . ...... ............ . ...................... ........... ..,..... .... .,..' ........... 3

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6. 4 limitations on Trustee.’: Authwiur .\......
6. 5 nonmoving ind Reportsto the Benef!oinry and owe ............................ .....,.¢....,.8
6.6 Signatur= omeume ..\ .....,., ... ,. .. ...... ‘ ' '
6.7 Noliw to Bmh'uim. .... . ‘ ........... . §

 
 
 

 

 

 

 

 

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 27 of 50

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6.9 No Ar,tinn Excopt Under Speca'fled Dooummw or lmructions... .. ..........,..9
COIVLPENSATION OF 'I'RUS'I`EE. -..._...\... ., ...,. ....... ..9
' 'M Trunw‘s For:s and Expmses ...... _ . . ' 9
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E.$ dictth of Payment,..‘;..,,,.,,.,....,.....,.,,..,.....“....,....... 10
T'ERL'”NAHUN op TRUST n- run l-lu nunn nunn v »»»»»»»»»»»»» 11
9.1 Terminalion of'l’rusl. ..,. ., `. ... . ..... ~ ll»
9.2 'Nn Tarmination by Goentox or Blmiicdary ` .11
9|'3 R°ml$e ofmst pumm Tmuuonll' l|ll ill llllll\ lll.ll` "lif lll ill lli¥ll'lll"llllll]
SUCCBSSOR TRUS’I'EES AND ADDIT!ONAL TB.US'I'EES ........ . ...... ............... . .............. ll
10. 1 Rlsignatfon or B.omoval of"!`mltee; Appoinhnent of Suoooaeur... .... ... .... .... .ll
10. 2 Appuinvnmt ofAddlc£onal 'I'ruste¢s . . 12
MSCBLLANBOUS. ... \...... 12
11. l Supplmonts andAmendmmts.....- ..... ..... ....... _ .. . 12
11.2 Logal Tiflem'l‘rusc Proponyin'!`rustle.. .......... '12
11.3 Conu'am Mldc by 'I&ustoo. ............ , , 1 ....... . _ 11
1 1.4 Liudwlinnl on Righls of othm.... 13
11,5 ch$ . .......,..¢,,.:.-m;" --------- 'u nnnnn 1 mla
.11.6 Saverability.....-..-».. . .. ' ........ . m
1 1.'1 sepm counterparts 13
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1 1.10 Not Influenold by Ben¢fiuim'ies who are not U. S. Cidzcns orRusident allison ...13
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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 28 of 50

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milsr AGREEMNT ("Agremmn") am as or mm ov, 2004. betwem mm
Guaranty Financial Curpomion, a Nevada Cmpmation, as Gremtur, and Airotaft Guarmty 'I'it]e & Trust,
LLC. a Doiawm'a limited liability comi)w, as Truqm. _
ART.ICLE I
DEFINITIONS

1.1 Dd'med Tmns. For all pmme of this Agrchqit, tim capitalized mims are dcfincd as
ibllaws: '

'*:l¢i'vrq’i" mem those certain airplanes or heliéopiers, winding engines and puts, for which the
Tnxmc holds title tbr the bcnefit of Benoficiary, and which shali constitute the 'I'mst Propurty.

"Agmmam” means thin Tcuat Agreement, as it may be amended from time to iim'c.

"Au:hor"iwd Qd'ic¢r" mms any umw ofthe Trustee who is embezle to not for the Trusw¢ in
matters relating to, and binding upon, the '_l':ust anglme name appem on a list of such authorized
ofE_s:m furnished by the Truste.e as such list may be mendod or nipplmentud fi'om time w time.

"B¢nsfl`c'i'azg`r" or "Benefi¢iarias” each omits the singular or plurol, and each mem the Gratrtor
and cash ofthu summers in interest as benedciaries oftlw Tru:t pm's:'wnt w Articic I[i.

“Iiusinms Day" sums any day that is not n Satmday. Sundny 01 my o‘iiwr day on which

contmmial banking _institotip¢w in Wilmington, Deiawan. are mtth or obligated by law or _

w$eculivo wider w be closop.

' “Code" meals the lam Roveme Codo br 1986, us it may be amended tom time m time and
us it may bn interpreted under reginatinns promulguiud by the imm-y newman

“Di.i'!ributim Dc¢r¢" means the tim Business Day following a day on which the 'i',‘rust:c receives
finds unless the date is changed by wfftkm consult ofBenquimy. _ -

”Dlr¢riburiort pate .S'rarsmsnf‘ means the iith desm’bed as such in Scotion 8'.2(0) imqu
"FM " towns the Uniwd Stat::s Departmmt of 'f'ransportation, liade Aviation Admini¥trat;ion.
“Fimz item means the calendar year nom mh mm 1 w up follow meagher 31.

intnmsl.

“Cmnershz)) Percenrage” or "Own¢rshcj: Inrare.::" with aspect to a Baneiicim'y means the
proportion (ee¢prcsscd ns n percentage) of the beneficial Ovmexship interest in the 'i‘msi Prop=rty held by

such Bmeiiclary,

0 Aim*ai‘l Gumn‘ly viewing \,l,c ' 515 worth sun invasion Pantw¢y EM, 819.3§\5" stinn, mm mo --»i-EBM!E-YSBI
page 1' of 19

 

 

"Gramsr" or` "Gramvr" mgm Airomft Guaranty §Financi'u! Corpmt‘lvn ind mr M¢¢Wl ill '

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 29 of 50

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com coming undergo u.o * 515 worth sam mount mm east ste.sos ' wooten ram meo- nonuse-mt
t ".Per’lod'fc Ftltng.t" means submissions that the Trust is required to make with any steve or federal
tepnetory agency cr under the Cocle. '

_ "Itan.rfér" means the cele, n"ansi'ee or other assignment of all of~e Bsneiiota.ry's right title end
interest in-oll or s portion of such Benei"tcicry's beneiiolel interest in the Tt'ust. .

"Ttsnr¢" memo the trust established by this Agroemont.

"i'lmst Csrrg']icare" mount »s oenifioete evidencing too Ownerslttp Iutcrest of n Beueiiciaty in‘
_ defined Ti'usl. P:opm'ly in substantially the form attached hereto as Etthlbit 1 or Eithibit LA.

“Tl'tttr Propero»” means all rtght, title end most In any yroperty contributed to the 'I‘rcst or
otherwise acquired by the Trutt, including without limitation eli distributions, payments or proceeds
weren Bach Bcncfluiary shall hold beneficial title and ittme only ill the specific 'l‘rust }*t’opnty
dcslgnoted on the Trust Certitlcetc. Tlte Tt-ost Property, principally, shell be certain Airercft end the

. TIWI Certi£¢nttt'. `

' *'Tru.tz Property Reltu‘ed Agresn_ten!" rooms any instrument or agreement signed by the Truetec
affecting 'I`rust Pl‘vl-t€l'\¥. includingx but not limited to, any loose or any operating agreement and any
financing agreements or insurance egmmsnts.. .

`"nnns¢" memo memo enemy nos n non L'w, s mtswne united lincoln sampson not t
in its individual oapecity, but solely ss trustee under this Agreernent, and any successor trustee J '
hercunrler,wttlch mnatbe oresidentoi`the Btsteoi'Delawsre. ` _

 

 

1.2 sewer rs house mei-n colon manor meeting n nearly lessened er reqan ny
contact or otrmtmsietecee, either singular or plural words shall inoiude the otiter. ,

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. ` 1 nonunionan onmos'r

2.1 Appolnttnent of the Trustee. 'I‘tte Grentor appoints the 'I‘rttstee ss quotes ofthe Trltllf, i- §
w have oil the rights. powers eird duties set forth heroin 'l'he 'I`metee acknowledges receipt in inlet Eexc -' ‘
the Grantor the sum of one hundred dollars, constituting the initial 'I-‘t'ust Properry. The mentor shell _
outset title to the Mrorntt to be unneferred to Trustee by en FAA Bill of Sa.le. ’

‘ 22 'I`rttst Agt'eement. 'The Trustcc wcepilt the Tt'ust hoqu and declares that it_v_.rlll hold
the Trust Ptoperty in trust subject to the conditions provided in this Agreetnem for the use and bonetit of
the Beneiioiary. lt is the intention of the parties tltut the 'I't'ttst constitute s statutory dust under the
steurtes and common law of the Stete ofDolawere and Chepter 38 oct Title 12 of the Dclowere Cocle-

 

2.3 Representntions and Werrttntios of tile Grn_ntor end Subsoquont 'I'ranst`erut‘. Tbe
. ermtor, and my petecms transfeng property to_ the Tt'ust, hereby represents md tva-rents to the 'I‘zuetee
ne §OIJOWS: ' ' ' '

ensures emery nominee t.to ~ srs note c¢m_ttsonen entity em, moses - mm mt nose renews-ross

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 30 of 50

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o errors carmen Hetongr u.o + srs ssan sam norms conway rest sre.sos *'Heurren, russ men ~ r1 semco-risd
(e) Upon tire receipt oftite Trust i'rnperty by the 'l‘mstee, under this Agreesnont, the 'l'rustee will
lrsv'o good title te tlts Trust l’roperty free and clear of any lien, except those expressly disclosed to the

€|'

[b) 'l`his Agrcement has been duiy md validly euthorlzcd, executed end delivered by, end
constitutes n valid end binding agreement of, the Grentor, enforceable in uocunienoc with its terms

2.4 Aotivttiee. 'Iire i`rnst may engage in tire following sotivities: {i) the ownership.
management registration and leasing of host Propezw, (il] activities which are necesm'y, srtimlste or
convenient to accomplish the foregoing and (ili) soon other activities ss may be required in connection
with conserving the 'L`rust Proporty md making distributions to tire Benciioisries. ,,

z.s ' ors¢e.' she estes uses nut non ss moore esso stresses redressed re sims
owens rule er trust Lt.c, srs N. sam trenton runway san sons sos, noonan rem vtoso, er
et such other address ss tile mstee may designate by notice to the Beneticisrios. -

. 2.6 Siitl¥ UTTI'\\¥L The 'l`rus't will be located and administered in the Stttte ofDdewm.

. . 2.7 Nanro. Tire Trust Agreement denied hereby shall br brown ss Continent Aircrst’c
Trqst No. 461. in which name tire Tmstec moy conduct business, make end execute mortgages. lecees,
conducts end other wmments necessary to esquire mortgage lessc. sell end miss 'i'n:st Property or-
otherproperty,end sueertdlse sued. » ' ',

AR'I'ICLE 111
TRUST C]!R'I`IFIQATES AND TRANSFER OF INI‘EREST '

5.1 Issucm:e of'!'t'ttst Csrtilicate.

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. Ccttiiioste in the name of the Benet`ieie:y ovidonsing a one hundred percent Ovmership Perecntone m the

cb> snell non curiam assn be ensures by mason simons ss ssser arose seem by
one ofits Authorieed Oitiioors. ' ' -

'Irust, '

3.2 Rogistrsrion and Trsnstsr ot Certiiicntes.

 

 

(e) The Trnstee shell maintain at its ochc,_or et the ofl`too ofauv agent oppointed lay it end
approved in writing by the Benefiuiary' et the time of such appointtuum. o 'rooord for the registration of
issued host Csrtiiieares nmi the 'l‘rertsfsr of Trust Certiiicstes. Ortly persons listed ss Benciioiories on
tito registration wound shell be entitled to the rights ns Benoiioioridt. `

(b) 'l‘he registered owner of any 'l`rttst Certiftostc as recorded in the register of 'l'rust
Cerriiioares may Trensfer ali or any portion of the beeeneisl nrtereet tn tire 'i‘mst Property evidenced-by
such 'I‘rust Certiiicete upon surrender thereof to the 'I‘rustco accompanied by the documents required by
'Section 3.4 hereof Such ‘I‘ransfer may be made by the registered owner in person or by en
onerous enemy treasurer i.\.e ' eis serv eeo newton seems sess stores ' neuron.rmr men - stell-dioth

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 31 of 50

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emma enemy wiener ne * 515 worth sam reserve moss san owens '.risssen, russ mrs ~ rr~zsws?osa
: altornsy-in\-fr.ot duly authorized in writing upon mendez of the 'I‘rust Cnriiiiests co the 'I'rusteo
` accompanied by s mines instrument of 'i‘ruosier and with such signmre guarantees and evidence of
authority of the persons signing the instroment of Transfer ss the Tnzstee may ressonei)iy require
Fromptly upon tire receipt of ssoh documents and receipt by the '.l`russee of the ,unnsfsror‘s 'Ii-ust
Con|&mto. the 'I'rustoe shaii record the mims of sued transferee ss n Benoiioisry and its O'rmership
_Persentsge in the ‘Irust Certi§oate register end issuo, exem:te and deliver to such Hsne§oinry or
Boneiieier!ss a 'I'rust Ceniiieete evidencing rush Dwnership Psreentage in rise 'i'rusr Property. 'In the
evenr,s transferor transfers only s portion oi’ira beneficial imerest in the inst Propesiy, tire 'I‘rusreo shall
_ register and issuel to such transferor s new 'I‘m.st Cerrifroste evidencing sush nassferofs new anership
Peroentsge in the Trust Propsrty. Sobseqnonr to s ’I'rsrrst'er md upon the issuance of the hew 'I'rusr
Cortiiieais or 'i‘rust Certiii esrer, me ’I‘rnstee shin eauesi end destroy ihe Trust' Coxi'i§ooto surrendered re
ii in oomeetion with.sueh 'I'ransfer. 'l`he 'l‘rusioe shall oonsider tim person in whose name any 'Iruot
Cesi:iiieete.is rogisiered on rise omeisl reoord ss the role BeneEoimy ofthe beneficial interest in ihs‘rru`st

Properiy evidenced by such Tzust Cesrii~'nes;e.

 

`(e) As a condition precedent to any ngisoaiimr of "I‘rsnsfer, ihs 'Irusroe may require the
. payment of s sum sdfioiem* to cover she payment of any fees or other charges required to be paid in
connection with sued 'l‘rensfer. - _ . -

l $-3 Los¢, $'iolen, Muti|aeed or Dostroyod Osrliiieetei. If(i) any mutilated ’]`rust Ceriiioai.e ’

' is sunmmd ro' the Trustee, or '(ii) tire '.i`nisiee receives evidence to its ssnst`aei_ion'rhel any ’Ims_t
Certiiieote has been desiroyed, lost or stoisn, end upon proof of ownership ssdsmotory to the Trusiee
together wlfh rush security or indemnity as moy be requested by ii\o T!uetee to save it henniess, the
'I'rus!ee shell exeenos and deliver a new Trust Cortiiioaoo forthe semeOwuership Pexeemrege ss tire Trusr
Cerritiosoe so mmiiotsd. descroyed, inst or srolen, oflike tenor md bearing a. different issue numbm-,‘with
mich noieiions. ii’sny, es the Trnstee ehnii determine ' ' _

 

5.4 Limltsiiuns on 'Irans!’or oi"I‘rnst Certiilos_te. ' No Transi'er of o beneficial ieieresi in
l rise Tro'st shall be mode so any person unless snell pmeon delivers to the 'Irostee- en Aeoessren
Agresmsnt substantially in the form ofohibir 2 attached end i:molpornted herein by referemoe.

3.5 Assigmoenl of Rigilr to Dis¢ribltious. A Benefieisry rosy assign ali or my part of its
right re receive dismbstioss, but such wigmore Crn the absence ore permined muster) shall sense no
shango in the ownership ofti_m Trust or tire ‘i`msi Property.

°Nl‘¢i'ln milth H°l¢i!i§l LLC ' 515 NWUI 3||1| HQMD|! Pli'hvl’ EM\, W.m ' HWUW|!. Tli¢ll mv 41431445~1§9‘
page 4 of 19

 

 

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 32 of 50

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l ARTICHE IV
comesch ms sss maxim

4-1 Restrlctions on Beu¢iiclary's. Mlom. Beelt Benelioiery shall comply with the
applicable provisions of tire laws end this hgn:cment in t.'ne manner necessary to effect the dilution of
the parties that legal title m limit Property shall rest with the Trustee end tim,bonefioial and equitable
title shall curtin the Bmeiioim;v eeeording to the Ownership Pereestsge. Benefieiary shalleejoy all the
benefits end mibutes of beneficial ovmership of'i‘om Pmperiy. - ' -

‘ 4.2 ` Other menses,.l.iebilltiel ofih¢ Trest. 'l"h`e Bmeiielery shell be liable for obligations
related to the Trust Property: providsd, hewever, if the Tmsr has more than one Beneiieiery, each
- Ben¢fleia:y shall be liable solely for the mez Property le which the Beneiieiery holds a Benefluinl
Ownersh|p lnlerest. Witliln t`en business days of receipt of s statement delivered by the 'l‘rusiee to lite
. effect thai ailments necessary to pay expenses or to meet any obligation of the Trust related tn the lhost
Preperty. emi setting forth the basis for snell mcpensee md sueh Beeeflcisry's allocable share of sued
expenses esch Beneiieiary shall deliver to the 'l'rustes immediately available funds iu' the amount of
_ such Beneiieiszy’s allocable shared such expenses 'i`he Beneiielsry shall bb liable for all obligations
' incurred by tire Ti'uslee in the performance nfhis duties hereunder, irwlucilng, bui not limited te, the
peym`enl.ef all lies mci expenses incurred by the 'l'ruslee in the perlbn'nmee of his duties hereunder:
pmvlded, hewevei‘. lftlre Tmst hes'more then one Benefieiery, seelr Bmeiieisry shell be liable seier for
its ailueeble share of such expenses, and each Beneileiary shell deliver to the Tmssse immdieteiy

_ available lends in the amount of such queiieiary’s allocable shore ofsueh mem '

ARTICLE V
- coNGERNmG rasmussen
Status. 'l`nrsl;ee represeiits end meade that it is e, citizen of life `United $tstes of

 

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. maine -
5.2 Aeeeptenee of 'I‘rostes and Dutielr. 'I‘hc 'i‘rustee accepts the o‘usi created and ample
‘ legal title as Trustee to the ‘l`xust Preperty. 'l'ire Trustee agrees to perfonn ila duties upon the terms rif
this Agremeut. 'I'ire Tr'ustee shell nut be personally liable wider my circumstances empl (i) fm ill
own willful misconduct or gross negligenee, (ii) for liabilities erlslng‘i'rmn the failure by tire Trueioe to
perform obligations expressly undermicen by it ln the last sentence of Seetirm 6.7, or (lli) for taxes, fees
l or other charges en, based en er measured by my fees, commissions or compensation received by the
'Il'uswe in eonneetiun with any ofthe transactions nonmnplated by this Agreement or s Truei Pwp¢rty
_ Relawd Ag;'=ement_. in pariie'ular, but not by way of limitedon: ' l -

[a`) ’I“be 'i‘rustee shall riot he liable for any sues ofjudgmerrt' made in good ihith by err
Authnrizlqd DfEem' oflhe 'l`nrslee; ~ . . .
` (b) "i`he "i‘r§rstee shell not'be liable with respect to any eeilo`n taken or omitted to be taken by
the Trustee in good ihith in accordance with the inmuetiens of the persons_helding ell of the herreficiel
. Ownembip lateral ' ` ' . _
a Airu:i'i Ge¢rmty liele Ll.G ‘ 515 Nenh Slm Heu=ion Pamnsy Eesl,»$tr.wil " Heusten.'i’eeve 77060 - 't»‘l~iill|~¢&§'-TBM
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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 33 of 50

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(o) No provision of this Agresmeot shall require the Tntatee to expend 91 fmc iii F‘=l‘\i°lltl
iimds er otherwise incur euy` finanuial liability in the performance of any of its rights or powers
hereundur, if the 'I'rustcs shall have reasonable grounds for believing that repayment of suob funds or
adequate wdemnity against such n'sli or liability is not reasonably assured crpmvidod m it;

(d) finder no eiseamrstanees shall the Trustee be potentially liable for any indebtedness of the

'!‘rust under any Trust Proparty Related Agreetueat; and

(e) The Trustse shall not be personally responsible for or in respect of the validity or
sufficiency ofthis abatement or for tire due execution hereof by the fireman br ibt 1115 ibm mich
gmuiuor)ess, suliioientty, value or validity of any collaterai, or fur or in’rospec't of the validity or
suft'rolesxn' of a Trust Property Relatod A@reement. ‘

. 55 liurnislring of Deeusneots. 'I‘he moses shall send to the Benefiuituy, promptly upon
. receipt inserted duplicates or oopies of all material reporte, notioes, sequests, demands, eerti$eatee.
intian statements and any other treatments received by cbs Trustee hereunder {otiies' than documents
originated by or otherwise finished to tire Heoeiieiary). ' ' 1

53 Relianue; Adviee of Connsoi.

(a) ‘I`bc 'l'nrstee shell incur no liability to anyone in noting upon any signsture, iastrurnent, H
notiee, resome request oosuent, order, oextitieste, report, opinion, bond or other document or paper
believed by it to be genuine or believed by it to be signed by the proper party cr parolee The 'Itustse
may seoept a certified copy of a resolution of the board of directors er other governing body of any
.oorporuta party ss conclusive evidence that such resolution has been duly adopted by suoh body end that
the stone is in tidi force end effect As to any fact or matter tbe mm of ascertainment ot'whieh la not
specifically penalized herein, die T:ustee may for ali pmposes hereof rely on a ocrti£cate, signed by the
president or any vice president or by the treasurer or any assistant licensor er the secreta:y or my
constant secretary oftlu~. relevant pm, as to such t'aot or matter, and such certificate shall constitute full
protection eo die Truatee for any notion taken or omitted to be falcon by it in good faith in rolimee

' thGTGU\"L

 

ln the e:cemise or sdministmlon of the ‘l‘rust hereintder and b`r the performance of its
duties md obligations under any of the 'I'tust l’¢operty Related Agresment. tire males (i} may act
directly or, at the expense of the Trust, through agents or attorneys pursuant to syndrome entered into
with any of them, end the 'l‘rustee shall not be liable for the default or misconduct of sixth dewitt itt
attorneys lfsuoh agents or attorneys shall have been selected by the Tnsswe with reasonable oare; md(li)
mata at the expense of the mot, oonsult with eounsel, »eeoountsnts and outer skilled persons to be
selected with reasonable core and employed by it, and the Tmstee shall not be liable for anythth dono,
suffered or omitted in good faith by it in accordance with the advice or opinion of any sixth ootmsei,

accountants or other skilled persons

5.5 Not Acting in lndividual Capseity. h aooeptiug the trusts hereby orest the Truetoe
ma solely es_a 'l'*rustee and nut in ita individual enpsoity, and'all persons having any claim against the
Termueo by reason of the transactions contemplated by tide Agrcement or any 'I'mst I'rvwdi' R¢lated
Agreement shall look only to tire 'It:uet Propezty for payment or satis:wtlon.

rs .¢urere'n currency undergo u.o ' ssa Neun sam Heusten army sect stems ' mem Te»s¢ wrote w +1-3!1-4»5-1'594
page 6 of 19

   

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 34 of 50

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` AR.'I‘ICLE Vl

AUTHom'¥ANDDUTms armome

m om`ml A.=:vmry. m mm is authorized m mile au mims required or permitted w
bo taken by' lt_pursumt to the terms of this moment and any Trust Pmp¢:ny Relatod Agroemom.

`6.2 Spoc|fic Authorily. 'I'ho T:uscoo is hereby authorized lenid directed to oaks the following
notions .

¢a) Hold legal ring w'n\l".r'rus: mm;

{b) Ta.ko all actions which the Tmsteo downs necessary or advisable to' register any Aizorail
whioh oompxisos a purdon of the 'h'usl Plopcrty with tho Unl\od Stam Fodoral Avlatlon
Adminlotmion mi to insulin that suoh Ai.roraft maintains lts registration and complies
with related mgolatlons and roquiram¢nts. _ _

`(¢} comm md diapens¢ mo mme in mix moment md m mo miqu memo
l Agrammt» » - l

6.3 Tmsto¢ Duiloa. Ii shall bo the duty of tho home m discharge all ofits rospo:lsll>ilitlol
pursuant to cho terms oftth Agmemont andtn administer the Mtbr tho interest oftho ch:fioiaty.
Trustoo shall have the light to grant to the Bono£oiory the independent pmm to mauugo, uonh‘ol and
maintain the mm?roporw in allthmgscxoopt mosemattors sobth w tbs exclusive aurhorityofthe ,
Trustoo mfbnoclxo ln Soo_¢ions 6.1 and 5.2. ' ` _ ,

6.4 l leitutions on Truste¢ Authorlly.

(o.) Sul:joot'to paragraph {b) oftlzls Soolion 6.4, the Beno£oio.ry wl‘ll have no rights or powers
to direot, influono¢ or cnmi tha 'I`msteo in cho p_orlbrmunoo of the 'I’rumo’s duties loader
this dust Agreomout in summation with morton involving the ownership and operation-
oftho A:'rmrnlt by the 'I¥ustoo. ln all marrero involving lho worship and operation oft?m=

. Airm$ by the 'I!usboo, th,o Truam shall have absolute and oou¢ploto discretion in
- oormoo¢lon therewith and shell bo ftoo of any kind of inflow or oontrol whatsoever by
the Bmclioim-y, md the Trust== shall exercise its duties under this ’I‘rusc Agroemont in
connection with mothers involving the ow:_zmhlp md operation of the r\iroraft by the
Tmtee as it, in its almtlon, shall déom necessary to plotcot the interests ofthe Unltod
Stam, maximumqu any countervailing format afosz foreign power whioh, or whose
-olt|ms, may howe o direct or indl:oot interest in the Beoo£lolmy and any such notion by
the 'I'msloo ahqu not bo considered malfeasonoo or in breach ofa:ly obligation which the
Twsteo might othorwinn haw oo the B¢ne§olary; provldod. howevor._ that autzioorto mo
fozogoing limitations, the"l‘rum-shall moreno iia discretioiz in all rumors wolvlng the
ownme mdoporatlon of*dzuAlxorBRbyihonshoowith doomg'm~d lord'roimmsts of
the Bmo£olary.' ,

_. m suij co cho moveman doe mem wm @, 'm mm gm am irwin _
' nut, wirhoul the -prim- written consent of the Bonoi\ola:y, [i) soll, mongage, Plodgo or

`¢ mm dummy umw mo - m norm sam umw mm wl amos - ransom fm mm nmu-woven
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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 35 of 50

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~ $A|fcrllt Guereoly l-tcld|egl LLG 'o‘lc No'nt\ Seml'louston Pe'rlmr Eeel. Bte,%l'i£ 'Ho\relor'\,‘l‘orle TYWU~+MM~MH-l'!lid
~ otherwise dispose of the Alrm'cfl or other assets held in the 'i"l'ust relating thereto except
' ' as otherwise e)qneesiy provided in this Agreement,- or (ii) amend any loose or miller
Oporating Agreemont or give my oonsonts. . . - ' ‘

6.5 Acoonntlng end Re}')orts to the Benellolnry and Othere. ’l'he '.l‘rustee shell (l) maintain
or cause w be maintained tire financial books oftiie Trust relating to the receipt end disbursement of oil
hmds. end (li) deliver to each Bene§clery within 90 days ortho end of each Fieeal Yoer, or more oflen,
_es may be required by the lew, s copy ofrhe annual financial steinth of the met for such Fiaoel Yoor
end s statement in such form end containing such information eo moy he roquired. e_e is necessary and
epproprlote to enable eeolt Benelioimy to prepare its tax tetonm, `

, s.e signature .or newton m none then sign-en behalf er no non ely co m
meal roturn, earl other Porlodic Fillnge of tire Trost, endless lpplienblc lew requires a Greotor or.
Bmciiciery to sign such dooumente, in which oese, the designctctl person shall eign'suoh clement

‘ 6.7 Notioe'to Bcneflcisry. In the event that tire itustee is movie to decide between

. alternative courses ofeotion, or is moore as to the application ofooy provision oftl:is Agreoment Ot' any

' Trust Properly Relatod Apoemcnr, or such provision is ambiguous as to its appiiostlon, on is, or appears
to be. in conflict with any other applicable provisionl or in the omit that this Agreement or any 'I'rest
Prcperty Reistett Agrecmont pode amy determination by thc-'l`mstee or ls silent or le incomplete ns to '
the course of action which tltc"l`rueteo is required-to take with respect to cpm"lioullr act offects, the
anstee may give notice (ln such tom es shell be appropriate mcentee olroumetencr'n) to doe Benetl’cisry -
molesting instructions aud, to the cement that the 'Trustee shell here acted or refrained item M§¢\B ill
good faith in accordance with any ioso'ootiono received front the holder of all of the beneficial
Ownerehip Interost, the Truetce shull,not be liable on account of such action or ineon to anypcrson. lf
the rem shen'ne\ eeoc received appropriate nonunion winn on am er commerce row weren
such ehorterperiod of'llme co may be specified lnnzchnotioe)the 'I't'usteemey,butch`ell bounds-non
duty tn, take or refrain from taking such ection, not inconsistent with this Agro¢nnmt or the Truet
Propé:tyRe!eted Agreement, as the decree shall deem to be lone best interests crowe Beneftclny,end
the Truewe shall here no liability to any person for such ection or inaction

' 6.8 No Dotiss Except as Speomeri in This Agrce_ment or in In‘sn;uctione. 'I‘he Trustee
shall nor hare any. duty or obligationto manage make nonpayment in respect of, recent or mcentee
deal with the Trust Preperty, or to otherwise take os refrain nom taking any action marion or in
connection with, my document coznompmted hereby to which the tenneco is a partyr manor se expressly
provided by the terms of this Ag;reemcnt end no implied duties or obligations shell be reed into this
Agreoment against the Trustec. 'Ihe 'Irnatee nevertheless agrees that it will, _et its own cost end eotpeoee,.
promptly take all notion as may be necessary to discharge my liens on my pm of the Tmst Fxopetor
which result Emrn claims against too Trostee personally that ore correlated to the ownership or the
administration of the 'i`rost l?roperty er the transactions contemplated by. the 'L'n:et Property R.e_ietcd
Agn-.ement. ' - _ _ ~ _ -

' - 63 No Actlon Except Undcr Bpectileci'Uocnmenl:l orluetructione. The 'l`rueteo shall not

mcnege, control uec, eell. dispose of or otherwise deel with any port oftl\e ans: l’royerty except (l] in
accordance with tho` powers granted to md the authority oon£errod upon the 'l‘r\.rsteo pensth to this

Agxeen:mt. mud [il) in accordance with instructions delivered to the 'I‘metee pursuant to Sootlon 5.7

heroqf. - _

corcoran came moines u.o ~ eis rem sam newton elmer cut eu.e'oe'~ mem reemoee-+1~cs1~ns~rro¢

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 36 of 50

From: 40568‘12658 Page: 20.'31 Date: 5!19!2009 204:55 PM

 

 

 

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seems vn `
summation on munson

7.1 'I`rnsi¢c's fines and Expenses, The Trustce shall receive compensation forits services ss

set forth on the ice schedule attached se Bxhibit 3. 'I’he Tnistee shell be entitled tolbe reimbursed for its

. reasonable expensss, inoio`ding, without limitation the reeeomblo compensation mcpensee end

disbursements of such sgeots, desiresont~otivesl experts end ccimsei ss the 'l‘zostee`mny mploy in

- connection with tile exercise end performance of its rights end duties under this Agrecment nod 'I'ntst
,Properiy R.elatcd Agreement, ’ - ' v

722 Liol_t on Tl'nst Properiy.- Tlio 'I'iustoo shell have a lien on the 'it'ust Propcriy, and the

'I‘rust Ceri:iiiestc end the represented Ownoreiiip letereet, for any compensation of expenses and
indemnity ,dne, and this lien shall _bo prior to all other liens. `

 

. 73 ?symmis to the Trustee. Any mounts paid to the 'I‘ltistee front the 'hust Property shell
be deemed oct to be pm of the 'Ilrust l-‘ropeny immedietely after such payment l ' '
ART!QLE VIEI

mnsmi:srr mimmcnrlon` on inner mens

B.l Inv¢etmont of Trost ands.~ income with respect,to end proceeds efthc 'Ifroet Propetty
which are received by the 'I‘n.tstco more than one day prior to a Diicribotion Date shelton invested end _
reinvested by the Tntstee. Ail such' investotents shell have o nasth date no laws then the Businese .|
nw pending the next Disnibndon Dste unless they are redeemable et the option of the Tmstee prior to
meturity. lath owned from such investment and reinvedtment_sball be credited to the Tt'tlsl ?roperty.

 

82 Allocutiom` and Di'sil'ib¢'tiol‘|$.

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c (e) dicemewithrespectinandpzooeedscf’l‘mstl’ropoityboidbythomsmoon l
Distribution Deteshsllbe distributed bythc'l‘rosteeonsucli Dieo'lbodon Dste'lnihefollowingorder: ' . l

(f) . iim.'pey any emmons dee to the mine maderthis Agrecmont;

fill Bv=Drld. to poy. my moments tim doe to any person under any ‘I'x"ust Pioperty
Related Agreemem; end - . t

.(iii) thiit‘l. to pay any odtcx expenses associated with the 'I‘mst Fropexty.

(b) . income and proceeds with meet to the T):cst Frope`fty held by the 'i`rusteo on o
Disiribu‘lion Dnie odor the application of hinds pursuant to Bociiop 8.2{!-} shall be distributed on such '
Disiribution Dnte to the Bone:ii.eie.rlee holding beneficial Ownosehlp interest in the Tmst l’t¢p=rty, in §
propm'tiori_to their respective 0wndrsl:lp Per:.eniegee, determined ns of the close of business on tile y
B`uolness Doy immediately preceding such Distributioo Deto, md edlusiod to take into conditioneth 1315 §

duration that the Boneiioiory has held the Owno!ehip Pecceotogc. All payments to be_ mode under this t
cum cursory manson itc ' cie stone earn moon ramey su\. ounce - Hessoe. mm nose ~+1 -zsi-+ielrooe - ' :
page 9 oi‘19

 

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 37 of 50

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emma sums mm us ' 615 worth sam valou sums srs. sims ' me, mn main -,¢ lithth

Agroomcnr by the Trustotr shall be made only from the income and proceeds ofth¢r 'l’rust Prop¢rly and

only to the victim that tim Trusroo has received such loont and proceeds

(¢) wis each distribution w a masonry pursuant m season mm sham on wm son '

deliver aDlstribution Dato Smromentsotting forth, for the period since the preceding Dism‘bution Date:

(i)_ income and proceeds resolved by tlzo Trustce with respect to the 'I‘msr
P.wpwy; '
` ` city mm psdw¢h¢mm;
(iil) amounts 'psid to any person pursuant to a Tmst Propsrty Rslntocl
' ' Agrcsmcnt;aud » ' -
'(iv] . amomzts pd.d for other expenses unmistth with tho Tn.tst Prop:l,ty.

~ (d) Esoh not itrm ofincoms, gnin, loss, deduction creditor allowance for any E_soal yosr, m'
applicable portion thereon shall las allocated to tire Bmslioisry In the ratio of its Ownorship Poromtsgo
iuthe Tmst. in th¢`eventthsrauytmcls bnposadonthe Trust, ssohrax shall br charged sgtth amounts
otherwise distributable to the Benetioisrios on n pro nn basis according to cho Owncrship Psroenwg;e.

'I'he Trustoo ls hereby sullmrimd to retain from amcnmts otherwise distributable to the B:msEoiaries- '
smitth hinds repay orprovldo for the Wmcmof, amd m nomailypny, wohtax as is legally owsd by-

ths 'I‘rust (but\su_sh mth)rizstlon shall not pruth the Trustco from something any such m in

appropriate pmmdings, md udmholding payment of such tax, if permitted by lsw, pending the outcome -

ofsuoir pmosodings). . l

8.3 Mothod of P»ym¢nt. All ornounts paynhln to a Bt:_nof\ciory pursuant to this Agmoment

-` shall be paid by tho Trustrs to suoh Bonei'roiary or a nominee thor=£or by cheok‘payoble to such

Bon=Eoiny, mailed first class to the address of such Bsn'etloiary apponrwg on th`o register maintamod

` pursuant to Sootion 3.2, or’ by o 'tir:g tito amount to bo distributed to such Bsmiloi'my to on account _

maintained by such Bcnsioimy_ with the 'I'~mstee or by transferring such amom ivy wire wrist to
immediately available funds to a banking instlwtion with bank wire msErfWiBtics for the mount of
such Boneiioia:y, as instruon in writing from tima to time by south Benefloisry. Tho 'I`roat¢o`roay
require oBsnsHoIary to pay my wirtz transfer fsoi incurred in connection with any wirov'ansfor made to

' such Benoio_iury.

ARTICLE IX
TERMINATION DF ']`R'_UST

' 9.1 rml-mma sr arm m ms owed mw avail wasnst and the ms row -

assur-be missouri 10 ms monetary in newsome with own mysesw ownership morrow md
this Agrosmmt-shall be of no further force or sil`cot, upon the earliest of Q) tila hal distrlbtmon by the
'I'rusteo of all moneys or otlacr properly or proceeds of the Tm'st Pwpetty in accordance withtbe ton‘ps of

this-Agreement god the 'Irust Property Rslatod Agroemont, (ii) 15 years after tbs date of this Agnmrmt, -
(iii) n decision by the Trustoc tlwt_tstrninatinn ortho ‘I‘wst will be in the'bost inme oftho Bonofiomy,
or (W) tl't¢'romovttl or resi.gmtlon ofthe 'l‘r\,t.stae withov.it the appointith of a smsor 'i`rustoo.

oAlrc'mt enemy umw u.o 1 m m sam Hou»t=n me¢y East. smwS_' l-tom:a'n. mm wm - +|-1~3!1~“5~759¢
‘ page 10 of 19

 

 

 

Case 3:09-CV-01223-|\/|RK D_ocument 1-2 Filed 07/29/09 Page 38 of 50

From'. 4056812658 Pago: 22{31 Date: 5119/2009 2:04‘,57 PM

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93 No 'I'crminau'on by Grautor or Bonsilctsry. Exospt ss provided in Sectiou 9.1, neither
the Gmnmr nor the Bcueficim'y shell be entitled to terminate or revoke the 'i‘zust established harmon

9.3 Exer_ciss of 'I'rusl Powers Aitor Tcrmiusiinn. Afser diminution of the ".i`rust ss
provided in Section 9.1, Trustee shall have no authority or power to sol on behalfoi’ tire 'I‘rust.

AR‘I'ICLE it
SUCCBSBDR TRUS'|"EES AND ADDITIONAL TRUS'I'EES
lli-1 Resignstion or Romoval of Trustce; Appointmont otsueceseer. '

e) . The 'I'rustee msy resign st my time by giving st`icest 60 days prior tuition notice to the
Bsooicisry, such resignation to be effective upon the acceptance of appointith by c successor Trustco
under Section iii.i(b) boicw.' 1a additions the Beneiioicry holding one krth percent office Owncrship
Percemege, ar roy timc, may remove tire Trustee. for couse, by an instrument in writing delivered to the
'I‘rustce, such mnovul to be effective upon the acceptance of appointment by s successor ‘Irustec under
Soction iO.i(b) md 10.1(0), beiow. in esso of the resignation or removal of-ihs Trustce, the Bene§cisry
raw appoint s successor Truswe by an insmunent signed by the holder of csc hundred percent ortho
Osmorship Psroentage.' Ifs arcoessor Trustee shall not have been appointed within 30 days after the
giving of written notice o!‘such resignation or the deiivery of tire written instrument with respect _to such
rcmoval. the Trtmtoc or the Br.ne&oinry may apply so any court cf competent jurisdiction to appoint s
successor meter to set until such times if any, ss a successor 'Iruetos shell have been appointed ss

- provided above. A.ny successor 'I'rustce so superian .»b‘y such com shail immediately and without
fmihor set be superseded by my wecessor morse appointed ss above provided within one year from the
dow oi'_the appointment by such court

(b) Arry successor Twstee, however appointed shell execute end deliver to the predecessor
’I‘rustee an instrument accepting such sppoiuunenr, md thereupon such successor Tmstee, udtboot
further oot, sth become vested with ali tire estates, proportics, rlghts, powers, duties and trust ofthe
predecessor Truetec in the Trust with like offset ss if origineiiy needed the Trustce; but nevertiurlcssl
upon tire written request of such successor Truswe, such predecessor 'l`rustec shall execute end deliver
en instrument transferring to such successor 'l'rcstee sli_tirc estatesf pmpcrtles. rights, powers, duties end
waste of such predecessor Trustoe. dod such predecessor ’l`rustoe shall duly sssign, transfer deliver md
pay over to such successor 'Irustcc ell moneys or other property then held or subsequth received by

such predecessor 'Irustes upon the Tzust.

(o) li‘ the successor ansiee is not elicited Ststes cirizen, then the successor ‘I‘rustee simil-
ioite oppropriate_action to change the registration of title to Aircrsft included ss Trusi Property to the

country in which the successor Trustce qualifies for registration ilor pwiroses of this Agreement, l

Unitod Statcs citizen motors {i] an individual who ic a citizen of drs Unitod Stsrcs. (ii) s ownership of

which each member is such an individuai, or (iii) s corporation or association orest or orgde under

the iowa of the United Ststcs cr of any stato, teniuory, or possession of the Uulced sectos. ofwrdchthe
president end two-dorris or more of the board of directors md other managing oMccrs thereof arc such
individuals md in which st least seventy-tire percent (75%} of the voting interest is owned or controlled
by persons who arc citizens ofthc Urdtod States or of one ofiur possession

sundown-ny norms Lto 11st sam Hnuuw contravenes sm.sos 'neusccn.rsxumeo- decrees-vess

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 39 of 50

From: 4056812658 Page: 23(31 Dahe: 511 912009 2:04: 57 PM

 

 

 

¢Alru'atl Bulrsnty Hol‘e|ngs Ll.c ' 615 Nerth Blm timth Pnrltwey EeFl, mem ‘ chslcn, Tem ?‘NBD - 61-281-¢|4.':,1564

_ (d} Any corporation into which the 'I‘rustec retry be merged ur converted ct with whlch lt may
be consolidated cr any corporation remitting from my merger, conversion ct consolidation tc which the
Trustee shall be a party, cr any corporation tc which substantially all cf the corporate trust business cf
lite 'l`rustee may he tttttttt‘ett‘ecll shall. subject tc the terms of Secticn lU.l(c), be the Tlustee tmder this
Agreemettt Witbvut further ac¢. . _

10.2 A.ppclntmenf cf Adclitional Trustees. At any time cr times fur the purpose of meeting

_ any legal requirements cf any jurisdiction in which any part of the Trust Prcpcrty may at the time be

‘locsted. the 'l'rustee, by an instruth in writing may sppclnt coe cr more individuals cr corporations tu

set es separate trustee_ci‘all cr any port cf the ".l‘ruet Properly to the full extent that local law makes it
necessary or appropriate fdreuch separate trustee cr separate trustees to cut clcne.

A.R'HCLE xi
MISGELLANE`QUS

11.1 Supplcmeule and AmenlImeuts. This Agl`eement mary be amended only by a written
instrument signed by the Tnuttee end ill of the Beneilclerlee at the time of ditch mendmenf; pruvided»'
however, that if, in the opinion of the Tmm'my lnstnnnettt required tc be so ecceesned adversely
ah’ects any right, duty or liability cf, cr_lmmunity cr indemnity in hvcr uf. the Trustee under this

Agleemeut cr any c£the dcemnettts contemplated hereby to which the 'l‘rustee is s petty. 01 Wwid wise ‘

cr result in any conflict with cr brach cf any tems. conditions cr praglslcns cf, cr default criden the
charter dcctunents or lay-laws ofthe Truswe or any ducumm contemplated hereby tn which the 'i'rusu>c
is a perty, the Trustee may in its sole discretion decline to execute such instrument

11.2 Lezal Title to Trust Prcper!y in 'l'ruetsc. 'Fhe Tntetee shell have legal title tc the ’l‘rust

Ptcperty end Beneficlsry shall only have an tuttli\ti¢led beneficial end equitable Owne,rchip lnterect l

' therein Nc msiim by opensticn cflaw cr cthetwiéc, choy right title or interest cf the Bsne£clnt_y in
end.tc ita tutde beneticicl interest in the 'l'rcstI-‘ruperty shall operate tc terminate this Ag:eement cr
the trust ct entitle any modesscr transferee tc nn accounting cr tc the transfer tc lt et lsgc_l title to my

pari pfthe Tmst I'ropmy.

11.3 Contraets Mn¢lc by Trustee. Upcu receipt of written consent cf the Benel'icicries, the

Trusl¢e has authority to execute any '[‘rust Pmperly Releted Agceement end any comments provided for
tlteteln, and such action ehhll bind the Bencftuiary and shall be effective tn obligate the 'l‘mstee end the

Benehciary to the extent set forth in such 'I'tust Pmperty Releted Agrecment. `Nc third petty shell be
required tc inquire ns to the tutthcriztdicnl necessity. expediency cr regularity cf such action cr us tc the
application cf my proceeds by the 'I`metee.

'11.4 limitations nn Rights cf- Othem Nuthlng in this Agreement, whether express cr
lmplled., shall be construed tc give w any person other than the 'l'xustee and the Beneticie.ry any legal cr
equitable rlght, remedy cr claim in the 'l'lust Prcperty cr under cr in respect cf this Agreement cr any
covenants, conditions cr provisions containeth - v

11.5 Neueee. moses surmise merely speeth or emmett by ute terms herser, air
notices shall be in waiting and delivered by hand or mailed by certified mall. postage prepald, if w the

scattered eucmnh' Heldlnns llc ' 515 Ncrtd sum neuman timmy Eot; Sts.tlns 't~lcustun, `l'ectle misc - +t»&etr|'li'?&®e
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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 40 of 50

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305, Housmn ‘l`oxas 77060, or to such other millions as the 'l"ruswc may howe sol forth in a written notion
to the Bonolinlaxy; and ifto a Bcnofioiory, addrassod lo icnt the address sol forth for the Bm:floiaxy in
cho registered maintained by the Trusteo.

11.5 Suverahilily. A_n§' provision oi' this llchth whloi: is whitiin or monforooai:lo in

ouy jurisdiction phall, as to such jurisdiotion, be ineffective to the custom of such prohibition or

unenforceabin wltlmut mandating the mmoining provisions homof, and any such prohibicion or
unenfomoabiliu in any jurisdiction shall not invalidate or rond¢:r unenforceable such rp\'\:)vision in any
olhorjurladlclion.

11.7 Sopmt¢ Couutaroaru, 'l`lu': movement may be mooted by the parties hamm in _

separate oounimparts, each of whloh when so mooted and delivered shall be an origln_al, but oil _suoh
counterparts shall together constitute but ono and div same loslrummt.

11.8 Buuucssors and Axslgns. `All covaoams and agreements oox:l)aiuod heroin shall bo
binding upon, and inure lo the benefit pf. the 'l'hlsleo and its summons md esslgns, and each
Benolioinry and its successors and permitted assigns. all us herein providod- AII¥ N\IMS'¢¢ milw.
dimtioo, oonscnt, walvor or other instrument or action by a Beneflciary simll bind the. successors md
assigns ofauoh Bmoilolary.

l:l:.sv molding m headings mm vmus unions md sections m for mvmmnq,¢ of
miomnoe.only and shall not kline or limit any ofrho mm or provisions,

11.0 Nut lnlluonc¢d by Bonefldnrlo¢ who are not U.B. Citiswns or Ruidon¢ Aliom.
Notwil.hmnding my other provision of this agrommt, bcnciioiarios who are not U.B. Citim_m_or

- Roiiclmt Aliens shall have no more ilwu twmq,r~iivo pmm (25%} o_l’ the aggregate power to inflow

or limit the exercise oftho mloe's autho:ity or to remoqu 'l'rusloo.

11.11 Govomiug Low. 'I`h|s Agmment shall in all respects be governed by, aud_oonslmod in
aooonianoo widz. the laws of the State of Delaware (oxoludiug conflicts of law rules), including all
matters ofoonstmotion, validity and pesl'ormm'oo.

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 41 of 50

 

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IN Wl'I'NESS -WHEREOF, the parties blm caused this Tmsl Agmemeet ve he duly

executed by their ree'peel:ive effieets. es of the day md year- -l’lrst above written

Aireml’c Guaren'ry ’I`ltle & Trust, LLG, ’I‘rustee

By:__MUE_~l-D_DJL_»"~_
‘Mar,vE.W

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 42 of 50

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 43 of 50

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 44 of 50

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 45 of 50

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 46 of 50

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 47 of 50

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Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 48 of 50

 

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 49 of 50

Exhibit B

Case 3:09-CV-01223-|\/|RK Document 1-2 Filed 07/29/09 Page 50 of 50

Fl'om: 4058812858 Page: 7181 Dato: 5119!20092:04:50 FM

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